                 Case 1:19-mj-01077-KBM Document 2 Filed 04/25/19 Page 1 of 1




                                       CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                  Before the Honorable Karen B. Molzen

                                            Initial Appearance

Case Number:        19-mj-1077                       UNITED STATES vs. Archuleta
                                                                             10:04-10:09; 10:18-10:21
Hearing Date:       4/25/2019                        Time In and Out:
                                                                             / 4 min
Clerk:              E. Romero                        Courtroom:              Rio Grande

Defendant:          Daniel Archuleta                 Defendant’s Counsel:    Ben Gonzalez

AUSA                K. Houghton                      Pretrial/Probation:     D. Marrufo-Ramos

Interpreter:        N/A
Initial Appearance
☒      Defendant sworn

☒      Defendant received a copy of charging document

☒      Court advises defendant(s) of possible penalties and all constitutional rights

☒      Defendant wants Court appointed counsel

☒      Government moves to detain                    ☐      Government does not recommend detention

☒      Set for Preliminary/Detention Hearing         on April 26, 2019            @ 9:30 a.m.
Preliminary/Show Cause/Identity
☐      Defendant

☐      Court finds probable cause                    ☐      Court does not find probable cause
Custody Status
☐      Defendant waives detention hearing

☒      Defendant detained pending hearing

☐      Conditions
Other
☐      Matter referred to    for final revocation hearing

☐
